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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

 ROBERT W. CRENSHAW,

                        Plaintiff,

 vs.                                    Case No.    2:03-cv-134-FtM-29SPC

 ROBERT LISTER; EMMITT MERRITT, RICK
 CHANDLER, WILLIAM CLEMENT, in his
 individual capacity, JOHN DAVENPORT,
 in his official capacity, FAWCETT
 HOSPITAL, Charlotte County, Florida,
 SANDY OLIVO, STEVE WINDISH,

                     Defendants.
 ___________________________________

                             OPINION AND ORDER

       This matter comes before the Court on defendant Fawcett

 Memorial Hospital’s Motion to Dismiss (Doc. #207) filed on August

 6, 2007.    Plaintiff filed a Response (Doc. #209) on August 24,

 2007. Also before the Court is defendants Lister, Merritt, Sheriff

 Davenport and Savage’s Motion to Strike Plaintiff’s Second Amended

 Complaint or in the Alternative, Motion for More Definite Statement

 (Doc. #208) filed on August 9, 2007.         Plaintiff filed a Response

 (Doc. #210) on August 29, 2007.

       As a preliminary matter, the Court finds that the Second

 Amended Complaint was timely filed.          The Court’s June 25, 2007

 Opinion and Order (Doc. #203) granted plaintiff thirty days to file

 a Second Amended Complaint.         While the Second Amended Complaint

 (Doc. #206) was filed on July 27, 2007, it was submitted to prison
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 officials on or before the thirtieth day and therefore timely

 filed.    (Docs. ## 209, p. 1; 210, p. 2.)

                                     I.

      In deciding a Rule 12(b)(6) motion to dismiss, the Court must

 accept all factual allegations in a complaint as true and take them

 in the light most favorable to plaintiff.        Erickson v. Pardus, 127

 S. Ct. 2197 (2007); Christopher v. Harbury, 536 U.S. 403, 406

 (2002).    To satisfy the pleading requirements of Federal Rule of

 Civil Procedure 8, a complaint must contain a short and plain

 statement showing an entitlement to relief, and the statement must

 “give the defendant fair notice of what the plaintiff’s claim is

 and the grounds upon which it rests.” Swierkiewicz v. Sorema N.A.,

 534 U.S. 506, 512 (2002)(citing FED . R. CIV . P. 8).       See also Bell

 Atl. Corp. v. Twombly, 127 S. Ct. 1955, 1964 (2007)(citations

 omitted); Erickson v. Pardus, 2007 WL at *3; Dura Pharm., Inc. v.

 Broudo, 544 U.S. 336, 346 (2005).         “While a complaint attacked by

 a Rule 12(b)(6) motion to dismiss does not need detailed factual

 allegations, [ ] a plaintiff's obligation to provide the ‘grounds’

 of his ‘entitlement to relief’ requires more than labels and

 conclusions, and a formulaic recitation of the elements of a cause

 of action will not do.”     Bell Atl. Corp. v. Twombly, 127 S. Ct. at

 1964-65 (citations omitted).       “Factual allegations must be enough

 to raise a right to relief above the speculative level on the

 assumption that all of the complaint’s allegations are true.”           Id.


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 at 1965.     Plaintiff must plead enough facts to state a plausible

 basis for the claim.       Id.    Dismissal is warranted under FED . R. CIV .

 P.   12(b)(6) if, assuming the truth of the factual allegations of

 plaintiff’s complaint, there is a dispositive legal issue which

 precludes relief.        Neitzke v. Williams, 490 U.S. 319, 326 (1989);

 Brown v. Crawford County, Ga., 960 F.2d 1002, 1009-10 (11th Cir.

 1992).

                                          II.

       On July 27, 2007, plaintiff, an inmate currently incarcerated

 in the Florida penal system and proceeding pro se, filed a six-

 count1 amended civil rights complaint pursuant to 42 U.S.C. § 1983.

 (Doc. #206)(the “Second Amended Complaint”).                The Second Amended

 Complaint relates to events that occurred during and subsequent to

 plaintiff’s arrest, but prior to his conviction.              Plaintiff names,

 inter     alia,   defendant     Robert   Lister,   Emitt    Merritt   and   Rick

 Chandler,     all   of   whom    are   Charlotte   County    Deputy   Sheriffs,

 Charlotte County Sergeant Michael Savage, Charlotte County Sheriff

 Davenport, and Fawcett Memorial Hospital (hereinafter ‘Fawcett

 Memorial’).

       The Second Amended Complaint recounts that on November 28,

 2001, after an armed robbery incident, plaintiff was attacked and

 bitten thirty-one times by a police canine, under the control of


       1
       The Court notes that the Second Amended Complaint contains
 two separate counts each entitled “Count Three” and therefore,
 contains a total of six counts.
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 defendant    Lister,    in    his    attempt   to    surrender   to   the    local

 authorities and as a result suffered injuries.             (Doc. #206, p. 3.)

 Defendant Merritt witnessed the attack but did not intervene. (Id.

 at p. 15.)

      Due to his injuries, plaintiff was transported to Fawcett

 Memorial.     Upon     arrival,      plaintiff’s     multiple    injuries     were

 photographed, but he was only treated for injuries to his legs.

 Plaintiff further alleges that “Fawcett Memorial Hospital is a

 primary care facility under contract with the Charlotte County

 Sheriff’s Office [(CCSO)].          As such Fawcett, is therefore an agent

 of the Sheriff’s Department for the tasks of Medical Care.”                  (Id.

 at p. 33.)    The Second Amended Complaint goes on to allege that

 Fawcett Memorial was aware that plaintiff was not completely

 ambulatory and yet it did not prescribe any medication or prescribe

 crutches or a wheelchair.           (Id. at p. 34.)

      Upon    arriving        at   the   police      station,     plaintiff     was

 interrogated by defendant Chandler.                 (Id. at p. 13.)         During

 questioning, defendant Chandler punched the plaintiff in the mouth

 causing plaintiff to bleed.             Plaintiff asserts that defendant

 Chandler violated the CCSO’s Use of Force policy.

      As a result of his numerous injuries, plaintiff filed a

 complaint with internal affairs.               (Id. at p. 11.)        Defendant

 Sergeant Savage was placed in charge of the investigation and met

 with plaintiff on January 16, 2001 at the Charlotte County jail.


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 During the meeting, Sergeant Savage informed plaintiff that in

 light of the pending criminal charges he would not take a statement

 but would examine the arrest file and paperwork associated with the

 case.      On   April   22,    2002,    Sergeant    Savage    found      no   police

 misconduct.     Plaintiff alleges that the investigation violated the

 CCSO’s policies and procedures.           (Doc. #206, p. 12.)

       Plaintiff’s six-count Second Amended Complaint asserts that

 all named defendants violated his Fourth, Fifth, Sixth, Eighth and

 Fourteenth Amendment rights.           Additional facts are set forth below

 as needed.

                                        III.

       Section 1983 imposes liability on any person who, under color

 of state law, deprives a person “of any rights, privileges, or

 immunities secured by the Constitution and laws.”                     42 U.S.C. §

 1983.    To establish a claim under § 1983, plaintiff must prove that

 (1)     defendant   deprived     her    of     a   right   secured       under    the

 Constitution or federal law, and (2) such deprivation occurred

 under color of state law.        Arrington v. Cobb County, 139 F.3d 865,

 872 (11th Cir. 1998); U.S. Steel, LLC v. Tieco, Inc., 261 F.3d

 1275,    1288   (11th   Cir.   2001).         Plaintiff    also   must    prove    an

 affirmative causal connection between defendant’s conduct and the

 constitutional deprivation. Marsh v. Butler County, Ala., 268 F.3d

 1014, 1059 (11th Cir. 2001) (en banc); Swint v. City of Wadley,

 Ala., 51 F.3d 988, 999 (11th Cir. 1995).


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       As   a    preliminary      matter,   the       Court   notes   that    it    has

 previously ruled that plaintiff could not sustain a cause of action

 under the Fifth or Eighth Amendments. (Doc. #206, pp. 7, 10.)

 Nothing    has   changed.        Therefore,      the    Court    will     strike   all

 references to the Fifth and Eighth Amendments.                  As for plaintiff’s

 Sixth Amendment claims, the Court finds that plaintiff has not pled

 any facts as to any of the defendants that relate to any rights

 guaranteed by the Sixth Amendment.2              Plaintiff merely states that

 the   defendants’      actions      violated   his     Sixth    Amendment    rights.

 Therefore      the   Court   will    strike    all     references    to    the   Sixth

 Amendment.

 A.    Defendant Fawcett Hospital’s Motion to Dismiss (Doc. #207)

       Defendant Fawcett Memorial argues that: (1) plaintiff has

 failed to properly allege that Fawcett Memorial was acting under

 the color of state law; (2) plaintiff has not alleged that a

 custom, policy or procedure was the moving force behind the alleged

 constitutional violations, and (3) plaintiff has not adequately

 pled facts showing that his medical needs were serious or that the


       2
       The Sixth Amendment protects the rights of the accused in
 criminal prosecutions. It provides that:

       the right to a speedy and public trial, by an impartial
       jury . . . and to be informed of the nature and cause of
       the accusation; to be confronted with the witnesses
       against him; to have compulsory process for obtaining
       witnesses in his favor, and to have the Assistance of
       Counsel for his defense.

 U.S. CONST. amend. VI.
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 hospital’s conduct “shocks the conscience.”

      A § 1983 claim requires plaintiff to show that the conduct was

 committed by a person acting under the color of state law at the

 relevant time.     Loren v. Sasser, 309 F.3d 1296, 1303 (11th Cir.

 2002), cert. denied, 538 U.S. 1057 (2003).          “Like the state-action

 requirement of the Fourteenth Amendment, the under-color-of-state-

 law element of § 1983 excludes from its reach merely private

 conduct, no matter how discriminatory or wrongful.”           Focus on the

 Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1276-1277

 (11th Cir. 2003)(quoting American Mfrs. Mut. Ins. Co. v. Sullivan,

 526 U.S. 40, 49-50 (1999)(citations omitted)).          A private person,

 however,    may   be   viewed    as    a    state   actor   under   certain

 circumstances.     Focus on Family, 344 F.3d at 1277 (recognizing

 three tests used to determine whether person was state actor).

 Action is considered to be under color of state law if there is

 such a close nexus between the State and the challenged action that

 seemingly private behavior may be fairly attributed to the State.

 Brentwood Acad. v. Tennessee Secondary Sch. Athletic Ass’n, 531

 U.S. 288, 295 (2001).    The Supreme Court has stated that “[w]hat is

 fairly attributable is a matter of normative judgment, and the

 criteria lack rigid simplicity.” Brentwood Acad., 531 U.S. at 295.

 The Supreme Court further noted that “no one fact can function as

 a necessary condition across the board for finding state action;

 nor is any set of circumstances absolutely sufficient, . . .”           Id.


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 Rather, the Supreme Court’s prior decisions have “identified a host

 of facts that can bear on the fairness of such an attribution.”

 Id. at 296.      The determination of whether there is action under

 color of state law is a “necessarily fact-bound inquiry.”                      Id. at

 298 (citation omitted).

      Fawcett Memorial argues that even if there is a contractual

 relationship     between        the       CCSO    and   the    hospital,     that   is

 insufficient to establish that the hospital is a state actor.

 Fawcett Memorial argues that under Patrick v. Floyd Medical Center,

 201 F.3d 1313 (11th Cir. 2000), plaintiff must show that the

 hospital and the CCSO were intertwined in a symbiotic relationship.

 The mere existence of contractual relationship is insufficient.

 (Doc. #207, pp. 9-10.)

      At   this   stage     of    the       proceedings,       the   Court   views   all

 allegations in the Second Amended Complaint as true.                        The Court

 finds that the alleged contractual relationship between Fawcett

 Memorial and the Charlotte County Sheriff's Office is sufficient to

 allege action under color of state law at the pleading stage.                       See

 Farrow v. West, 320 F.3d 1235, 1239 n.3 (11th Cir. 2003)(private

 physician under contract with state to provide medical care to

 inmate acts under color of state law for § 1983 purposes); Ancata

 v. Prison Health Servs., Inc., 769 F.2d 700, 703 (11th Cir.

 1985)(collecting cases finding state action is present when a

 private   entity   takes        on    a    traditionally       governmental    role).


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 Patrick       was   decided     at   the    summary    judgment     stage   of    the

 proceedings, and hence the court in that case possessed more

 information regarding the relationship between the hospital and the

 county.        In the present case, the record contains no evidence

 regarding the terms of the contract and therefore the Court cannot

 make an assessment as to whether the relationship between Fawcett

 Memorial and the CCSO is such that it renders the hospital a state

 actor.       Therefore, the Court finds that plaintiff has sufficiently

 pled that Fawcett Memorial acted under color of state law.

        Fawcett      Memorial    also    asserts      that   the    Second   Amended

 Complaint must be dismissed because it fails to allege a violation

 of custom or policy which was the moving force behind plaintiff’s

 constitutional deprivations.                (Doc. #207, p. 12.)         The Court

 agrees.        Fawcett Memorial in essence seeks to be treated as a

 governmental entity in this regard.               Monell3 has been extended to

 private corporations, Harvey v. Harvey, 949 F.2d 1127, 1129 (11th

 Cir. 1992), and therefore Fawcett Memorial cannot be held liable

 under a theory of respondent superior.                  Ancata, 769 F.2d at 705

 n.8.        Plaintiff has failed to allege a violation of a policy,

 custom, or procedure that was the moving force behind the alleged

 constitutional violation.              The only allegations in the Second

 Amended       Complaint   are    that      Fawcett    Memorial’s    policies     were

 violated, but not that the policies were the actual moving force


        3
            Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 694 (1978).
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 behind the plaintiff’s injuries. See City of Canton v. Harris, 489

 U.S. 378, 385 (1989)(a state actor can only be liable if the

 execution of the policy or custom inflicts the injury.)           The Court

 notes that mere negligence or malpractice does not rise to the

 level of a constitutional violation.           See Harris v. Thigpen, 941

 F.2d 1495, 1505 (11th Cir. 1991).          Defendant’s actions must “shock

 the conscience”     Lumley v. City of Dade City, Fla., 327 F.3d 1186,

 1196 (11th Cir. 2003); see also Redd v. Conway, 160 Fed. Appx. 858

 (11th Cir. 2005).     Therefore, Fawcett Memorial’s Motion to Dismiss

 is granted.     Because this pleading defect may be corrected, the

 Court will allow plaintiff one more opportunity to plead a cause of

 action.

 B.    Defendants Lister, Merritt, Sheriff Davenport and Savage’s
       Motion to Strike Plaintiff’s Second Amended Complaint or in
       the Alternative, Motion for More Definite Statement (Doc.
       #208)

       Defendants    Lister,   Merritt,     Sheriff   Davenport   and   Savage

 (hereinafter ‘defendants’) assert that plaintiff should file a more

 definite statement because plaintiff’s Second Amended Complaint

 violates Federal Rules of Civil Procedure 8 and 10.         (Doc. #208, p.

 6.)    Specifically, the Second Amended Complaint is “excessively

 wordy littered with irrelevancies” and contradictory statements.

 (Doc. #208, pp. 4-5.)       Plaintiff counters that he has adequately

 articulated a claim against each of the defendants, and that

 defendants are only attempting to prolong the resolution of the

 instant case.      (Doc. #210, pp. 2-3.)        Plaintiff states that, if

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 necessary, he is willing to file a Third Amended Complaint.            (Id.

 at p. 3.)

       1.    Excessive Use of Force (Counts I (Lister), III
             (Chandler)and III (Merritt))

       Count I of the Second Amended Complaint alleges that defendant

 Lister used excessive force in apprehending plaintiff by allowing

 his police dog to attack and bite plaintiff thirty-one times.

 Plaintiff asserts that at the time of the canine attack he was in

 the process of surrendering.        (Doc. #206, ¶¶ 25, 27.)      Count III

 alleges that while interrogating plaintiff, defendant Chandler

 punched plaintiff in the mouth. At all times during interrogation,

 plaintiff was handcuffed.        (Id. at ¶¶ 53, 54.)       Count III also

 asserts that defendant Merritt failed to intervene and prevent the

 canine attack.     (Id. at ¶¶ 59-60, 64.)

             (a) Source of Constitutional Right:

       The Court’s first step is to identify the source of the

 constitutional right to be free of excessive force.             Defendants

 argue that the excessive force claim must be analyzed under the

 Fourteenth Amendment substantive due process standard. (Doc. #208,

 pg. 5.)     Plaintiff cites the Fourth and Fourteenth Amendments as

 the basis for his excessive force counts.        (Doc. #206, ¶¶ 43, 57.)

       The Supreme Court has rejected the “notion that all excessive

 force claims brought under § 1983 are governed by a single generic

 standard.”    Graham v. Connor, 490 U.S. 386, 393 (1989).           Rather,

 “[i]n addressing an excessive force claim brought under § 1983,

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 analysis begins by identifying the specific constitutional right

 allegedly    infringed      by     the    challenged       application     of    force.”

 Graham, 490 U.S. at 394 (citation omitted).                      Where a particular

 Amendment provides an explicit textual source of constitutional

 protection against a particular sort of government conduct, that

 Amendment, not the more generalized notion of substantive due

 process, must be the guide for analyzing the claims.                       Graham, 490

 U.S. at 395. While noting that most excessive force claims will be

 analyzed under either the Fourth Amendment or the Eighth Amendment,

 Graham does not limit excessive force claims to one or the other

 Amendment.          Rather,        “Graham     simply        requires     that     if    a

 constitutional      claim     is    covered       by   a   specific     constitutional

 provision, . . . the claim must be analyzed under the standard

 appropriate to that specific provision, not under the rubric of

 substantive due process.”            United States v. Lanier, 520 U.S. 259,

 272 n.7 (1997).

       Therefore, different constitutional rights will be at issue in

 excessive force claims arising in different factual contexts.                           An

 excessive force claim in the context of a pre-arrest, non-seizure

 police    contact     is    analyzed         under     the    Fourteenth       Amendment

 substantive due process standard even after Graham.                            Wilson v.

 Northcutt,    987    F.2d     719,       721-22    (11th     Cir.     1993);     Carr   v.

 Tatangelo, 338 F.3d 1259, 1271 (11th Cir. 2003).                        However, “all”

 claims that law enforcement officers have used excessive force in


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 the course of an arrest, investigatory stop, or other “seizure” of

 a free citizen are analyzed under the Fourth Amendment, not under

 a substantive due process approach.             Graham, 490 U.S. at 395.

 Thus, substantive due process analysis is inappropriate in a case

 if plaintiff’s claim is “covered by” the Fourth Amendment. City of

 Sacramento    v.   Lewis,   523   U.S.   833,   843    (1998).       A   pretrial

 detainee’s claim of excessive force, however, is analyzed under the

 substantive due process provision of the Fourteenth Amendment.

 Bozeman v. Orum, 422 F.3d 1265, 1271 (11th Cir. 2005).               A claim of

 excessive force by a convicted prisoner is analyzed under the

 Eighth Amendment.     Whitley v. Albers, 475 U.S. 312, 318-26 (1986).

        In this case, plaintiff was injured on two separate occasions.

 First, when he was attempting to surrender, and then during his

 interrogation.       Plaintiff had clearly been seized within the

 meaning of the Fourth Amendment by virtue of his arrest, but his

 status had evolved into that of an arrestee in custody while being

 interrogated.      The Eleventh Circuit has analyzed such “custody”

 situations under different constitutional amendments.                In Vinyard

 v. Wilson, 311 F.3d 1340 (11th Cir. 2002), the Court analyzed an

 excessive force claim during arrestee’s ride to the jail under the

 Fourth Amendment.      In Mercado v. City of Orlando, 407 F.3d 1152,

 1154   n.1   (11th   Cir.   2005),   the    Court     rejected   a   Fourteenth

 Amendment analysis in favor of a Fourth Amendment analysis where a

 suspect was “in custody” by virtue of being surrounded by officers.


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 On the other hand, in Cottrell v. Caldwell, 85 F.3d 1480, 1490

 (11th Cir. 1996), a suspect was arrested and transported in the

 back of a police car in a position which led to his asphyxiation.

 The Eleventh Circuit stated that excessive force claims “involving

 the mistreatment of arrestees or pretrial detainees in custody are

 governed by the Fourteenth Amendment’s Due Process Clause . . .”

 See also Redd v. R.L. Conway, 160 Fed. Appx. 858, 860 (11th Cir.

 2005)(applying         Fourteenth    Amendment     substantive   due     process

 analysis to claims of excessive force during arrest and booking

 process).      In Vineyard v. County of Murray, 990 F.2d 1207, 1211

 (11th Cir. 1993), the Court did not decide whether force used in a

 hospital stop on suspect’s way to jail was governed by the Fourth

 or    Fourteenth       Amendment,   finding   no    violation    under   either

 amendment.

       The Court will therefore analyze plaintiff’s excessive force

 claim under both the Fourth Amendment and the Fourteenth.                  While

 the   Fourth     and    Fourteenth    Amendment     standards    are   similar,

 plaintiff has a higher burden when the Fourteenth Amendment is

 involved.      Carr, 338 F.3d at 1271-72.

             (b) Legal Standards:

       Under a Fourth Amendment standard, the issue is whether the

 officer’s conduct was objectively reasonable in light of the facts

 confronting the officer.        Graham, 490 U.S. at 396-97.        The use of

 force must be judged on a case-by-case basis from the perspective


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 of a reasonable officer on the scene, keeping in mind that the

 right to make an arrest carries with it the right to use some

 degree of physical force or the threat of force.          This requires a

 careful balancing of the nature and quality of the intrusion on the

 individual’s Fourth Amendment interests against the countervailing

 governmental interests at stake.       This in turn requires a court to

 evaluate the severity of the crime at issue, whether the suspect

 poses an immediate threat to the safety of the officers or others,

 whether the suspect is actively resisting or attempting to flee,

 the need for the application of force, the extent of the injury

 inflicted, and whether the force used was reasonably proportionate

 to the need for the force.      See Beshers v. Harrison, 495 F.3d 1260,

 1266-68 (11th Cir. 2007); Vinyard, 311 F.3d at 1347.

       Under the Fourteenth Amendment, the standard is the same as

 that employed under the Eighth Amendment.           Bozeman, 422 F.3d at

 1271. To prevail on a substantive due process excessive force

 claim, plaintiff must prove that defendant’s actions “shocks the

 conscience,” and mere negligence is not enough.         Lumley v. City of

 Dade City, Fla., 327 F.3d 1186, 1196 (11th Cir. 2003).                    To

 determine if an application of force was excessive, the Court

 considers a variety of factors, including: the need for the force

 and the amount of force used, the extent of the injury inflicted,

 and whether the force was applied in a good faith effort to

 maintain or restore discipline or maliciously and sadistically for


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 the purpose of causing harm.            Carr, 338 F.3d at 1271-72.          This

 standard does not establish a bright line that would readily alert

 officers to a violation, and therefore qualified immunity applies

 unless application of the standard would inevitably lead every

 reasonable officer in defendant’s place to conclude the force was

 unlawful.      Id.

                      1.   Deputy Sheriff Lister (Count I)

        The facts known to defendant Lister at the time of the use of

 force were that plaintiff was suspected of committing armed robbery

 and plaintiff was in the process of fleeing, initially by car then

 by foot through a wooded area.                 Lister never lost sight of

 plaintiff.      Upon becoming aware of the presence of a police dog,

 plaintiff informed Lister that he wished to surrender and relayed

 his position.        (Doc. #206, ¶¶ 8, 10-11, 27.)       The Court recognizes

 that    this    version    of   the   events    is    only   from     plaintiff’s

 perspective and is likely to be disputed.              However, at this stage

 of the proceedings, the Court is required to accept all factual

 allegations in the Second Amended Complaint as true.

        Under these facts the Court finds that plaintiff’s excessive

 force   claim    against    defendant    Lister      survives   the    motion   to

 dismiss.    Plaintiff had relayed to Lister his intent to surrender

 as well as his location, and therefore no longer posed a flight

 risk at the time of the release of the canine.               Plaintiff suffered

 significant injury in being bitten thirty-one times.                   Therefore,


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 plaintiff has pled sufficient facts to establish either a Fourth

 Amendment or a Fourteenth Amendment excessive force claim against

 Deputy Sheriff Lister.

                   2.    Deputy Sheriff Chandler (Count III)

       Defendant Chandler was one of the officers responsible for

 interrogating plaintiff at the police station. At all times during

 the interrogation, plaintiff’s hands were handcuffed behind his

 back.    In response to a derogatory remark by plaintiff, Deputy

 Sheriff Chandler punched plaintiff in the mouth. (Doc. #206, ¶53.)

 Therefore, plaintiff has pled sufficient facts to establish either

 a Fourth Amendment or a Fourteenth Amendment excessive force claim

 against Deputy Sheriff Lister.

                   3.    Deputy Sheriff Merritt (Count III)

       Count III alleges that defendant Merritt failed to follow

 procedures by “refusing or failing to stop Deputy Robert Lister

 from using the canine dog as a[n] attack weapon against plaintiff,”

 and failing to report the circumstances of the attack as required

 by department policy.        (Doc. #206, ¶¶ 59, 61)     Plaintiff further

 alleges that defendant Merritt failed to intervene and stop Deputy

 Sheriff Lister from using excessive force. (Id. at ¶64.)

       “An officer who is present at the scene and who fails to take

 reasonable steps to protect the victim of another officer’s use of

 excessive    force,    can   be   held   liable   for   his   nonfeasance.”

 Velazquez v. City of Hialeah, 484 F.3d 1340, 1341 (11th Cir.


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  2007)(quotation omitted); Priester v. City of Riviera Beach, Fla.,

  208 F.3d 919, 927 (11th Cir. 2000). “This liability, however, only

  arises when the officer is in a position to intervene and fails to

  do so.”   Ensley v. Soper, 142 F.3d 1402, 1407 (11th Cir. 1998).

       The Court finds that plaintiff has alleged sufficient facts to

  establish either a Fourth Amendment or a Fourteenth Amendment

  excessive force claim against Deputy Sheriff Merritt.                  Plaintiff

  alleged that defendant Merritt was in a position to intervene and

  instead chose to stand by while defendant Lister’s police dog bit

  plaintiff thirty-one times causing severe injuries. Therefore, the

  motion to dismiss is denied as to defendant Merritt.

       2.      Count II - Sergeant Michael Savage - Internal Affairs
               Investigator

       Count    II    alleges    that   Sergeant    Savage    failed    to   follow

  departmental policies relating internal affairs investigations.

  Specifically,      defendant    Savage   failed    to:    (1)   conduct    proper

  interviews; (2) conduct an adequate investigation; and (3) prepare

  the requisite report.          (Doc. #206, ¶¶ 44, 48, 49.)             Plaintiff

  asserts that these failure resulted in a deprivation of plaintiff’s

  Fourth Amendment and Fourteenth Amendment rights.                  As the Court

  stated earlier, the violation of a departmental policy alone cannot

  form the basis of a constitutional claim.                  Plaintiff does not

  allege    that     the   policy   was    the     moving    force     behind   the

  constitutional violation.         Furthermore, the Eleventh Circuit has

  ruled that there is no constitutional right to an investigation of

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  an excessive force complaint.             See Vinyard v. Wilson, 311 F.3d

  1340, 1356 (11th Cir. 2002).         Therefore, the motion to dismiss is

  granted as to Count II.

       3.      Count IV - Charlotte County Sheriff’s Office - Inadequate
               Supervision, Custom, Policy, and Procedures

       Count    IV    asserts   a   claim     against   the   Charlotte   County

  Sheriff’s Office, which is not a legal entity subject to suit under

  § 1983.   In Florida, a county Sheriff in his official capacity is

  the proper defendant rather than the County Sheriff’s Office. Dean

  v. Barber, 951 F.2d 1210, 1214 (11th Cir. 1992).                Therefore the

  proper party is Sheriff Davenport.           The Court will construe Count

  IV as a claim against Sheriff Davenport in his official capacity

  and strike the Charlotte County Sheriff’s Office as a defendant.

       Count IV is composed of thirty-eight paragraphs asserting in

  essence three separate claims against Sheriff Davenport: (1) that

  a variety of office policies were violated; (2) the Sheriff’s

  office has a policy of not following certain policies; and (3)

  failure to train.        (Doc. #206, pp. 17-30.)

       Under § 1983, a governmental entity may not be held liable

  under a theory of respondeat superior, but instead may only be held

  liable    when     its   "official   policy"     causes     a   constitutional

  violation.       Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 694

  (1978). Plaintiff can establish the requisite “official policy” in

  one of two ways: (1) identifying an officially promulgated policy,

  or (2) identifying an unofficial custom or practice shown through

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  the repeated acts of the final policymaker of the entity.               Grech v.

  Clayton County, Ga., 335 F.3d 1326, 1320-30 (11th Cir. 2003).

  Plaintiff must identify the policy or custom which caused his

  injury so that liability will not be based upon an isolated

  incident,    McDowell    v.   Brown,    392   F.3d   1283,   1290    (11th   Cir.

  2004)(citations omitted), and the policy or custom must be the

  moving force of the constitutional violation.            Grech, 335 F.3d at

  1330.    See also Board of County Comm’rs v. Brown, 520 U.S. 397, 403

  (1997); Gold v. City of Miami, 151 F.3d 1346, 1350 (11th Cir.

  1998).

       The Court finds that, at this stage of the proceedings, Count

  IV of the Second Amended Complaint adequately states a cause of

  action under the Fourth and Fourteenth Amendments against the

  sheriff    in   his   official   capacity.       Plaintiff    has    identified

  numerous policies and practices by the sheriff’s office which he

  alleges were the moving force behind his injuries.

       The sheriff is not automatically liable under § 1983 even if

  he inadequately trained or supervised his officers and those

  officers violated plaintiff constitutional rights.                  See Gold v.

  City of Miami, 151 F.3d 1346, 1350 (11th Cir. 1998).                To establish

  a claim against the sheriff on the theory of failure to train his

  officers, plaintiff must establish (1) that there was a failure to

  adequately train the officers, (2) that the failure to train was

  the sheriff’s policy, i.e., either there was an express policy or


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  the failure to train amounts to “deliberate indifference” to the

  rights of persons with whom the officers come into contact, and (3)

  that the failure to train policy caused the officers to violate

  plaintiff’s constitutional rights.         City of Canton v. Harris, 489

  U.S. 378, 389-91 (1989); Bruce v. Beary, 498 F.3d 1232 (11th Cir.

  2007); Gold, 151 F.3d at 1350.       Plaintiff must ultimately present

  some evidence that the sheriff knew of a need to train in a

  particular area, and that the municipality made a deliberate choice

  not to take any action.       Gold, 151 F.3d at 1350-51.        Deliberate

  indifference may be established by a pattern of constitutional

  violations or by a single decision under appropriate circumstances.

  Bruce, 498 F.3d at 1249.

       The Court finds that plaintiff has adequately pled a cause of

  action for failure to train.       Plaintiff has alleged that: (1) the

  Sherif has a policy of allowing inadequately trained canines to

  participate in law enforcement activities (Doc. #206, p. 27);

  “[Other] detainees as well as plaintiff have been bitten by this

  canine without probable justification.” (Id. at p. 28); and (3)

  the failure to train the canines led to a deprivation of his Fourth

  and Fourteenth Amendment rights.       Therefore, the motion to dismiss

  is denied on this ground.

       Accordingly, it is now

       ORDERED:

       1.    Defendant Fawcett Memorial Hospital’s Motion to Dismiss


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  (Doc. #207) is GRANTED.

       2.    Defendants     Lister,   Merritt,    Sheriff    Davenport    and

  Savage’s Motion to Strike Plaintiff’s Second Amended Complaint

  (Doc. #208) is DENIED.

       3.    Defendants     Lister,   Merritt,    Sheriff    Davenport    and

  Savage’s Motion for More Definite Statement (Doc. #208) is GRANTED

  as to Count II and is otherwise DENIED.

       4.    All references to the Fifth, Sixth and Eighth Amendments

  shall be stricken from the Second Amended Complaint (Doc. #206).

       6.    Plaintiff may file a Third Amended Complaint within

  TWENTY (20) days of this Opinion and Order.          If no Third Amended

  Complaint is filed within the time provided, the case will proceed

  pursuant to the remaining portions of the Second Amended Complaint.

  The Court notes that if plaintiff chooses to file a Third Amended

  Complaint, that will be his last opportunity to do so, as the Court

  will not grant leave to file a Fourth Amended Complaint.                 If

  plaintiff files a Third Amended Complaint, it shall include all

  claims against all defendants, since the Third Amended Complaint

  will become the operative pleading.

       DONE AND ORDERED at Fort Myers, Florida, this           15th   day of

  January, 2008.




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